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 1
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 6   ATTORNEY FOR Defendant,
     Artemio Avila
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                  ******
11   UNITED STATES OF AMERICA,                              Case No.: 18CR-00156-DAD-BAM
12                  Plaintiff,
13                                                          STIPULATION AND ORDER TO
             v.                                             MODIFY CONDITIONS OF RELEASE
14   Artemio Avila,
                   Defendant.
15

16

17   TO:     THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
             ATTORNEY:
18

19           It is hereby stipulated between the United States of America, by and through its

20   representative, Vincenza Rabenn and the Defendant, Artemio Avila, by and through his attorney

21   of record, Preciliano Martinez that release condition #7(K) which requires the Defendant to
     participate in the Location Monitoring program with a curfew from 8:00 p.m. to 3:00 a.m. be
22
     modified to a curfew extension on August 24, 2019 through August 25, 2019 until 2:00 a.m.
23
             All other conditions shall remain in full force and effect.
24
             United States Pretrial Services Officer Alicia Mirgain has advised defense counsel that
25
     she does not oppose the modification of Mr. Avila’s release conditions to allow a later curfew
26
     time.
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                                                        1
                         STIPULATION AND ORDER TO MODIFY CONDITIONS OF RELEASE AND TRAVEL
                                         CASE NO.: 1:18-CR-00156-DAD-BAM
     Case 1:18-cr-00156-DAD-BAM Document 86 Filed 07/23/19 Page 2 of 3
 1          Mr. Avila has a pre-planned quinceanera for his daughter Blanca Avila occurring at 4306

 2   Santa Fe Avenue, Hughson, California 95326, Stanislaus County on Saturday, August 24, 2019,

 3   from 2:00 p.m. to 2:00 a.m on August 25, 2019.

 4           Ms. Mirgain requests that Mr. Avila first obtain permission from the Court to allow the
     curfew change and comply with any restrictions that Pretrial Services may impose on such travel.
 5
             Accordingly, the parties agree and stipulate that Mr. Avila’s conditions of release should
 6
     be modified as follows: Mr. Avila shall be allowed to attend his daughter quinceanera, and be
 7
     permitted to be out of his home until 2:00 a.m. on August 25, 2019 with the advance permission
 8
     of, and as directed by, Pretrial Services.
 9
             IT IS SO STIPULATED.
10
                                                  Respectfully submitted,
11
       DATED:      7/19/ 2019               By: /s/Vincenza Rabenn
12                                              VINCENZA RABENN
                                                Assistant United States Attorney
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15     DATED:      7/19/ 2019               By: /s/Preciliano Martinez
                                                Preciliano Martinez
16                                              Attorney for Defendant Artemio Avila
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                         STIPULATION AND ORDER TO MODIFY CONDITIONS OF RELEASE AND TRAVEL
                                         CASE NO.: 1:18-CR-00156-DAD-BAM
     Case 1:18-cr-00156-DAD-BAM Document 86 Filed 07/23/19 Page 3 of 3
 1                                   ORDER

 2

 3          For reasons set forth above, the Defendant’s conditions of pretrial release shall be

 4   modified as follows: The Defendant shall be permitted to be outside of his home on Saturday,
     August 24, 2019 until 2:00 a.m. on August 25, 2019 with the advance permission of, and as
 5
     directed by, Pretrial Services. All other conditions shall remain in effect.
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 7
     IT IS SO ORDERED.
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 9      Dated:     July 23, 2019                                   /s/
                                                            UNITED STATES MAGISTRATE JUDGE
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                         STIPULATION AND ORDER TO MODIFY CONDITIONS OF RELEASE AND TRAVEL
                                         CASE NO.: 1:18-CR-00156-DAD-BAM
